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                              UNITED-STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                  23-60117-CR-ALTONAGA/STRAUSS
                            CASE NO. __________
                                    18 u.s..c. § 1349                                   KAN
                                    18 u.s.c. § 1343
                                    18 U.S_.C. §- 1957
                                    18 U.S.C. § 981(a)(l)(C)                  Jun 14, 2023
                                    18 U.S.C. § 982(a)(l)

  UNITED STATES OF AMERICA                                                                  Miami



  vs.

  SANJAY SINGH,


  ___________________/
                          Defendant.


                                           INDICTMENT

         The Grand Jury charges that:

                                   GENERAL ALLEGATIONS

         At all times relevant to this Indictment:

          1.     Royal Bengal Logistics, Inc. ("RBL") was a Florida corporation operating an over-

  the-road trucking business, initially headquartered at 3700 Northwest 109th Avenue in Coral

  . Springs, Florida, and later headquartered at9600 West Sample Road, in Coral Springs, Florida.

         2.      Def�ndantSANJAY SINGH, a resident of Coral Springs, Florida, was the founder

  and president of RBL.

          3.     A "Ponzi scheme" was an investment fraud scheme that involved the payment of

  claimed returns to existing investors from funds contributed by new investors. Ponzi schemes

  focused on attracting new investors to make promised payments to earlier-stage investors to create

  the false appearance that investors were profiting from a legitimate business. Ponzi schemes
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                                                PresidentofRBL,a thriving oyer-the-ro>d tnwking compqny.SINGH qlzctltiscp-conspirators                                                                                                         .
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                    a result, SAN JA Y SIN G H and his co-cpnspirators usçd new investor ftm ds to pay existing

                    irïvestorspromssedretum s,asigtypicalin aPonzischeme.

                                   8.      W hilçsolicitink new investm entforthePonzischem e,SANJAY SINGH and his
                    co-conspiratorsalso m isappropriàted investorfundsfortheirown personaluse and benefitand for

                    theuseandbenefitofothers.SINGV misappro'
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                                   (a)     promisedinvestmentreturllswereguarapteed;
                                   (b)     RBL assumedtherisksaCsociatedwithtnzckingoperationswhileinvestors
                     .                     received reltlrllsirrespective (jfthoserisks;

                                   (c)     RBL paidmorçfundstoinvestorsthanittook in9om ùw estors;
                                   (d) ' RBL wasabletopay investorjthroughitssuçcessftlltrtlcking.business;
                                   (e)     RBla.usedtnekprogram investmentprinpipal,atleastinpart,toacquireatnzck
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                                   (9      RBL didnotJnakeaprofitfrom.itstruclcingbusiness;
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                                   (g)     new RBL invgstormoney wasusedtopaypriorRBL investprs;                    '
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                                   (h)     jANJAY SINGH usedRBL invesiormoneytopaypersonalexpensesincluding
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                         (i)           SANJAY SI'
                                                N GH used RBL investorm ohey tofund multiplebrokerage

                                       accountsandtoprovidecollaterqlforstock tradeson m argin.

                         10. Based on these materiatly false and fraudulentstatementsand concealmentand
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              raised over$100 m illion in investorfundsthrough in and arotmd rebnzary 2023..
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              ofTitle 18,United StatesCode,Section 1343.




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                                                                  PURPOSE OF TIJE SCHEM E AND ARTIYICE
             3.                       Itwasthejurposeoftheschemeandartificeforthpdefçndantandhisxaçcomplices
  to lmlawfully emich themselvesby:(a)causing individualsand corporationsto invçstin RBL
  based on m aterially false and fraudulent statem ents and concealm entand om ission of m aterial

  facts; and (b) using investor ft
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  defendant'sand llijaccomplices'petsonaluse and benefit,forthé use and beùefitofothers,.and

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             4.                       Paragraphs 4 throngh 10 '
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  Indictmentarereall/gedandincorporitedbyreferençeqsadescriptionofth4schemeandaitifice.
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             5.                        On or abovy the dates below ,th, e defendant,for the purpose of execpting and in

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                           4                A                                         $15,000 frop D.J.'sCapitalOneBank account
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                                                                                      to RBL .sBank ofAmericaaccountending in
                                                                                          6001.
                                                                                      Jnterstatewiretransferofapproximately
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                                                                                      $100,000from B.M .'SBankofXmerica
                           5               D çcem ber29,2022               '                                        '
                                                                                          acçountto RBL'SW ellsFargo Bnnk accotmt
                                                                                          eùding in 5094.
                                                                                          Intèrstatewiretransferofapproxim ately
                           6                J                                             $155 000 from M .J.J.D'Sand W .J.'SBnnk of
                                            mm ary 26,2023                                     '                                     .
                                                                                          Am çrica accotm tto RB L's W ellsFargo B nnk
                                                                                      v
                                                                                          accotm tçnding in 5094.
                                                                                          Interstate w iretransferofapproxim ately
                           7               F                                              $50,000 from K.A .'SStateEmployeçsCredit
                                            ebruary 14,2023                               U                    ,
                                                                                            nion accollntttjRBL sW ellsFargo Bank
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                                                                                          accotmtending'in 5094.
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                  ln violation ofTitle 18,United StatesCode,Sections'1343 and 2.                        v




                                                                 C O UN T 8
                                                EnMaMinM in Transactions in Unlaw fulProceeds
                                                                               (18U.S.C.'
                                                                                        j 1957)
                      lu        The GeneralA llegationssectitm ofthislndictm entisrealleged and incorporated by

          reference.

                  2.            On oraboutA pril26,2022,in B fow ard County,in the Southel'
                                                                                          n D istrictofFlorida,

           and dlsewhere,thedefendant,

                                                                               sxxgxv slxga
           did know ingly engage and attem pt to engage in a m onetary transaction affecting interstate

           comm erce'in crim inally.derived property ofa.
                                                        value greàterthan $10,000,such property having

           been derived from a specified unlawfulactivity,and knowing thatthe pröperty involved in the
             .




           financialtrarisaction m presented the proceeds of som e fonn of tm law ful activi'
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                                        Case 0:23-cr-60117-CMA Document 1 Entered on FLSD Docket 06/15/2023 Page 8 of 11




                                             transfer of approxim ately .$250,000 from ItBL'S Citibank accoum ending in 4380 to the

                                             defendant'sB ank ofA m ériça Accotm tending in 2459.                                                       .




                                                                   ltisfurtherallegedthgtthespecifiedtmlawfulqctivi'tywaswirefraud,itlviolationôfTitle
                                             l8,'u nited States Code,Section 1343.                                                                                                               .                                                    .

                                                                   lnviolationofTitle 18,United StatesCode?Sections1957(a)and2.                                                                                                                   '
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                                                                                      ofshisIndictmentareherebyre-qllegèdandbythis'
                                                                                                                                  referencefully
                      '
                            .                incorpuratedherein forthepurposeofalleging forfeiyuretotheUnitedStatesofAm ericaofcertain

                                             property in which $hedefendN t,SANJAY SINGH ,hasan interest.

                                                                   2.               Uponconvktioh()fTitle18,UnitedgtatçsCode,Séctions1349or1343,asalleged

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                                                 'sIndictment,thedefepdantstla11forfeittotheUnited Statèsanyproper'ty,rçylorpersonal,
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                                             wlzich constitutes orisderived from proceedstraceable to theoffense ofconv
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                                             Title 18,United SjatesCode,Seçtion 981(a)(1)(C.
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                                                                   3.               Upon convictiohaofà.violgtion ofTitle 18,United States Cod:àSeçtion 1957,as                                          .
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                                             allçged in thisIndictnwnt, the defqndantshal1forfeittotheUrlited Statesany propço ,real'or
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                                             personal,involvkdin suçh offensd,a'
                                                                               ndanypropertytraceableto sucàprùperty,pttrsuanttoTitle
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                                             18,United StatesCode,Section 982(a)(1$
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                                                                   4.               Thepropertysubjrcttpforfeiturèasaresultoftheallegedoffçnsesincludes,butis
                                             notlimitedto,thefollowing:rçal.
                                                                           property associajedwiththefollowing identifers:                                                                                                                                '

                                                                   (a)              FolicNllmber484226-00-0340inBrowardCotmty,Flprida;                                                                                                                                  . .
                                                                   (b)              f'oli:Nllmber484226-00-0350inBrowmd Cotm ty,Floridai.                                                  ,




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                                                                    (c)             FolipNtlmber484226c00-0360iizBroward County,Florida;
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Case 0:23-cr-60117-CMA Document 1 Entered on FLSD Docket 06/15/2023 Page 9 of 11




                     (d)              FolioNumber484226-00-0370inBrowardCotmty,Florida;
                                      FolioNum ber484226-06-0010 in Broward County,Florida;

                                      lfany ofthepropeztysubjecttoforfeiture,asaresultofany actoromiysion ofthe
  defeqdant:

                     (a)              cnnnotbelocatedupontheexerciseofduediligence;
                      (b)             hasbeentransferredorsoldto,ordepositedwith,athirdparty;
                      (c)             hasbeenplacedbeyondthejurisdictionofthecourt;
                      (d) 'hâsbeensubstantiallydiminishedinvalue;or
                     (e)              has been commingled with otherpropeljy which cannot be dividedwwithout
                                      diffictllty.

  theunited statesshalibeentitledtoforfeitlzreofsubstitutepropertyundertheprovisionsofTitle
  21,United StatejCode,Section 85341$.                                       .




                     Al1p'
                         ursuanttoTitle 18,UnitedStatesCode,Section981(a)(1)(C)andtheproçeduresset
  fot'th iflTitle21,United StatesCode,Section 853,asincorporatedby Title28,UnitedStatesCode,
  n




  Sectipn 2461(c)
                                                                                           A TRUE BILL



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  V RAN N.BHAT
  ASSISTANT UNITED STATES ATTORNEY
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Case 0:23-cr-60117-CMA Document 1 Entered on FLSD Docket 06/15/2023 Page 11 of 11




                                    UNITE)STATESDISTRICTCOURT
                                    SOUTHXRN DISTRICT OF FLORIDA
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                                                 PENALTY SHEET

      Defendant'sName: SANJAY SX GH                                         .
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            ARefersonly to possibleterm ofincarceration,supervised relpase and lines. Itdoes notinclude
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